Case 5:22-cv-00094-JWH-SHK Document 46-2 Filed 01/25/22 Page 1 of 6 Page ID #:474




                               Exhibit A
Case 5:22-cv-00094-JWH-SHK Document 46-2 Filed 01/25/22 Page 2 of 6 Page ID #:475
Case 5:22-cv-00094-JWH-SHK Document 46-2 Filed 01/25/22 Page 3 of 6 Page ID #:476
Case 5:22-cv-00094-JWH-SHK Document 46-2 Filed 01/25/22 Page 4 of 6 Page ID #:477
Case 5:22-cv-00094-JWH-SHK Document 46-2 Filed 01/25/22 Page 5 of 6 Page ID #:478
Case 5:22-cv-00094-JWH-SHK Document 46-2 Filed 01/25/22 Page 6 of 6 Page ID #:479
